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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

DANIEL NOTESTEIN, BLOCKTRADES
INTERNATIONAL, LTD., ANDREW
CHANEY, SZYMON LAPINSKI, ADAM
DODSON, ELMER LIN, DANIEL
HENSLEY, MICHAEL WOLF, MATHIEU
GAGNON, and MARTIN LEES,

                      Plaintiffs/Counter-
                      Defendants,
         v.

BITTREX, INC., and                                         Civil Action No.: 7:20CV00342

                      Defendant/Counter-Plaintiff
                      and Counter-Defendant,
J. DOES,

                       Defendants.
--------------------------------------------------------

BITTREX, INC.,

                      Defendant/Counter-Plaintiff
                      and Counter-Defendant,
         v.

STEEMIT, INC.,

                       Third-Party
                       Defendant/Counter- and
                       Third-Party Plaintiff.
--------------------------------------------------------

STEEMIT, INC.,

                      Third-Party
                      Defendant/Counter- and
                      Third-Party Plaintiff,
         v.

BITTREX, INC.,

                      Defendant/Counter-Plaintiff
                      and Counter-Defendant,
                      and

JOHN DOES 1-10,

                      Third-Party Defendants.
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                  STEEMIT, INC.’S OPPOSITION TO PLAINTIFFS’
              MOTION FOR LEAVE TO FILE AN AMENDED COMPLAINT

       Third-Party Defendant/Counter- and Third-Party Plaintiff Steemit, Inc. (“Steemit”), by

counsel, hereby submits its Opposition to Plaintiffs’ Motion for Leave to File an Amended

Complaint (ECF No. 74).

                                        INTRODUCTION

       This case is about digital tokens that were stolen from an online wallet controlled by

Steemit and then transferred to Bittrex, Inc. (“Bittrex”), a digital currency exchange. Ownership

of a portion of the tokens is disputed, with Plaintiffs and Steemit both making a claim. For the

majority of the stolen tokens, only Steemit has claimed ownership.

       Recently, the parties all agreed that statutory interpleader is proper with respect to the

disputed tokens. If the Court concurs, Bittrex will submit a bond to secure the disputed tokens’

value, the Court will decide whether Plaintiffs or Steemit have the better claim, and Bittrex will

then transfer the tokens to their rightful owner. This precise situation is why interpleader exists.

       Despite recognizing that interpleader is appropriate, Plaintiffs refuse to let it govern the

ownership question. Instead, Plaintiffs distort the interpleader process in a continuing effort to

assert and maintain spurious claims related to the disputed tokens.

       Plaintiffs’ motion for leave to add Steemit as a Defendant should be denied on multiple

independent grounds. At the outset, the request is futile, as Plaintiffs do not assert any plausible

claim for relief. Plaintiffs seek to name Steemit merely because it made a claim of ownership in

the interpleader action. But making a claim to ownership is precisely what interpleader

contemplates; it is not unlawful. If it were, there could be no interpleader remedy (which

requires competing claimants) without, at the same time, drawing a direct claim. Plaintiffs’

statutory business conspiracy claim is likewise defective. Plaintiffs are all individuals, save


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BlockTrades International, Ltd. (“BlockTrades”), whose citizenship remains in question. More

fundamentally, there is no credible basis for alleging concerted action or common purpose

among Bittrex and Steemit. Bittrex is a disinterested stakeholder. It has not preferred Steemit’s

claim over Plaintiffs’ – it treated the claimants just the same – and did not transfer the disputed

tokens to Steemit. Instead, Bittrex filed an action in interpleader, suing Steemit in the process.

        Plaintiffs’ motion is also futile because the proposed amended complaint concerns

ownership of the disputed tokens, but that issue is entirely subsumed by the interpleader action.

If anything, the Court should issue an order under 28 U.S.C. § 2361 enjoining Plaintiffs from

instituting these or similar claims.

        Finally, Plaintiffs’ motion should be denied because it cannot be the product of good

faith. Plaintiffs assert that they now want to substitute Steemit for a “John Doe” Defendant,

because Steemit makes a claim to disputed tokens. But Plaintiffs have had actual knowledge of

Steemit’s claim for almost a year. Further, Plaintiffs agree that interpleader is proper with

respect to the disputed tokens and are well aware of interpleader’s preclusive effect for related

claims. As such, this belated effort is a knowing attempt to get around the orderly proceedings

that should flow from the interpleader action.

        Plaintiffs’ wasteful litigation tactics must end.1 The Court should accept jurisdiction over

the interpleader action, Plaintiffs and Steemit should advance their respective claims therein, and

the motion for leave to amend should be denied.




1
 If Plaintiffs do not voluntarily withdraw their motion to amend, Steemit intends to seek its reasonable
attorneys’ fees and costs incurred, pursuant to Virginia Code § 18.2-500(B) (the Court may “decree
damages and costs of suit, including reasonable counsel fees to . . . defendants’ counsel”).


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                                   RELEVANT BACKGROUND

          A.     Hackers Stole Digital Currency From An Online Wallet Controlled By
                 Steemit, And Deposited The Stolen Currency With Bittrex.

          In 2016, Steemit launched a blockchain-based project called “Steem.” The centerpiece of

the project is the social media website, www.steemit.com, which Steemit owns and operates.

ECF No. 28 at 9, ¶ 5. To incentivize contributions to www.steemit.com, Steemit created digital

currency, or tokens, which include the STEEM and Steem Blockchain Dollars (“SBD”) at issue

in this dispute.2 This digital currency can be traded on exchanges like Bittrex. Id. at 13-14, ¶ 24.

          After the sale of Steemit was announced, there was significant discord within the Steem

community. See id. at 15-18, ¶¶ 28-35. This culminated in a community-consensus driven “hard

fork” on May 20, 2020, whereby tokens previously assigned to Plaintiffs and others were

transferred into the @community321 wallet controlled by Steemit. Id. at 19-20, ¶¶ 36-40; see

also ECF No. 21 at 10, ¶¶ 21-22; ECF No. 61 at 4-5; ECF No. 64 at 2-3.

          This authorized transfer was short-lived, as the @community321 wallet was quickly

compromised by unknown hackers. Seconds after the tokens reached the wallet, they were

diverted to an account controlled by Bittrex. ECF No. 28 at 20-21, ¶¶ 41-46. These criminals

purported to be a “white knight hacker,” and instructed Bittrex to return the tokens to their

“original owners.” ECF No. 21 at 10, ¶ 22.

          B.     Plaintiffs Sued Bittrex And A “John Doe” Defendant.

          Plaintiffs filed suit against Bittrex on June 16, 2020, also naming a “John Doe”

Defendant. ECF No. 1. Plaintiffs claimed to be the rightful owners of a subset of the stolen

tokens, alleging claims against Bittrex for injunctive relief, breach of bailment, conversion, and



2
    The “Steem” blockchain project is governed by community consensus. ECF No. 28 at 14-15, ¶¶ 25-27.


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statutory business conspiracy. Id. at 3-5.

        C.      Bittrex Initiated An Interpleader Action Over The “Disputed Steem,”
                Bringing Steemit Into The Case.

        In response to Plaintiffs’ lawsuit, Bittrex counterclaimed with an action in interpleader.

ECF No. 7. As part of its interpleader action, Bittrex added Steemit as a third-party defendant.

Id. at 7, ¶ 1. Bittrex amended its interpleader claim on August 19, 2020. ECF No. 21. There,

Bittrex stated expressly that Steemit “claims a right to and interest in the Disputed Steem

claimed by Plaintiffs,” and that “Steemit, Inc. plans to participate in this litigation to pursue its

rights and interests against Plaintiffs.” Id. at 11, ¶ 24.

        D.      Steemit Made A Claim To The Disputed Steem, Counterclaimed Against
                Bittrex As To The Non-Disputed Tokens, And Filed A Third-Party
                Complaint Against The Unknown Hackers.

        On September 22, 2020, Steemit timely responded to Bittrex’s interpleader action. ECF

No. 28. Steemit filed an Answer, expressly making a claim to the Disputed Steem also claimed

by Plaintiffs. See, e.g., id. at 5-6, ¶ 24.3

        As part of its responsive pleading, Steemit also filed affirmative claims. It

counterclaimed against Bittrex with respect to the Non-Disputed Tokens – i.e., the majority of

the tokens stolen from the @community321 wallet – alleging claims for injunctive relief,

detinue, and conversion. ECF No. 28 at 8-26.4 Steemit also filed Third-Party Claims against the

unknown “John Doe” hackers involved in the theft. Id. at 8-22, 26-30.




3
 Approximately 23,627,501 STEEM and 427 SBD were stolen from the @community321 wallet. ECF
No. 28 at 5, ¶ 22. Plaintiffs originally claimed 6,999,300 STEEM and 250 SBD. ECF No. 21 at 11, ¶ 21.
Recently, Plaintiffs’ increased their claim to 8,752,313.006 STEEM and 294.207 SBD. ECF No. 61 at 6.
4
  Steemit’s claims against Bittrex over the Non-Disputed Tokens are stayed. ECF. No. 53. Bittrex also
requested that the Court enter an order returning the Non-Disputed Tokens (the “Undisputed Steem”) to
Steemit. ECF No. 65 at 2 (n.1), 3, 6-7, 12-13; see also ECF No. 65-1 at 2 (proposed order).


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        E.      Plaintiffs Have Hindered Commencement Of The Interpleader Action.

        Plaintiffs opposed the interpleader action for months (see, e.g., ECF Nos. 17, 20, 25),

ultimately relenting when Bittrex was able to secure a bond. ECF No. 63 at 3 (“Plaintiffs Do Not

Object Generally to Interpleader.”), 4 (stating that Bittrex is able to meet the jurisdictional

requirements for interpleader, and “Plaintiffs have agreed a bond in the amount of $3,940,276.20

is acceptable”).

        Nevertheless, Plaintiffs fight dismissal of their claims against Bittrex, even though all

concern the same property (i.e, the Disputed Steem) that is subject to the interpleader action. Id.

at 4-6. In its bond motion briefing, Bittrex addressed the illogic of this continuing position and

requested a 28 U.S.C. § 2361 order enjoining pursuit of those claims. ECF No. 61 at 10-13, 17;

ECF No. 65 at 2, 7-11.

        F.      The Court Raised Jurisdictional Concerns About Plaintiffs’ Complaint.

        At the May 24, 2021 hearing on Bittrex’s bond motion, the Court expressed two subject-

matter jurisdiction concerns in connection with Plaintiffs’ Complaint, issuing an Order to Show

Cause the next day. ECF No. 72. First, the citizenship of BlockTrades – the one Plaintiff that is

not an individual – was unclear. Id. at 1. Second, Plaintiffs’ “John Doe” Defendant created

diversity of citizenship issues. Id. at 1-2.

        On June 8, 2021, Plaintiffs responded to the Order to Show Cause. They attached

BlockTrades’ Certificate of Incorporation and stated that BlockTrades was a citizen of the

Cayman Islands and Virginia. ECF No. 73 at 3. They requested the opportunity to identify the

John Doe defendant in discovery, or alternatively have the Court dismiss John Doe or allow

Plaintiffs to amend their Complaint. Id. at 4. Plaintiffs also argued that the John Doe was a




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“nominal party” and could be dropped. Id. at 4-5.5

        G.      Almost Immediately Thereafter, Plaintiffs Filed A Motion Seeking Leave To
                Substitute Steemit For The John Doe Defendant.

        Six days after filing their response to the Order to Show Cause, Plaintiffs filed the instant

motion. ECF Nos. 74, 74-1. The proposed amended complaint doubles-down on the same

fallacy that Bittrex recently addressed: Plaintiffs’ attempt to maintain claims over the Disputed

Steem that are part and parcel of the interpleader action. Plaintiffs now seek to add Steemit to

their improper claims, specifically to “substitute Steemit, Inc. for J. Doe.” ECF No. 74.

        In brief, Plaintiffs contend that when they filed the original Complaint over a year ago,

they may have suspected, but did not know, that Steemit would make a claim to the Disputed

Steem. ECF No. 75 at 2-4.6 Plaintiffs state that Steemit then did make such a claim in a letter

attached to a Bittrex brief (id. at 3) – which was filed on August 25, 2020 (see ECF No. 23-3).

        Steemit’s simple act of making a claim is what Plaintiffs now allege is unlawful. In the

original Complaint, Plaintiffs stated that “J. Doe(s) may be another party/parties making a claim

of right to Plaintiffs’ Steem.” Id., ¶ 22. The same paragraph in the proposed amended complaint

now reads: “Eventually, Steemit made a claim of ownership to Plaintiffs’ Steem.” ECF No. 74-

1, ¶ 22.7


5
  Steemit and Bittrex each filed responses to Plaintiffs’ submission on June 22, 2021. ECF Nos. 76, 77.
Each stated that the Court should independently retain jurisdiction over the interpleader action,
irrespective of any jurisdictional issues with Plaintiffs’ Complaint. ECF No. 76 at 2-3, 5-6; ECF No. 77
at 1, 3-7.
6
  Steemit does not address here the numerous ways in which Plaintiffs’ motion for leave to amend
mischaracterizes the pleadings in this action and misstates the relevant facts, in particular by ignoring that
Steemit is governed by community consensus and misstating Steemit’s pleadings to suggest that it
somehow “admitted involvement” in “a partially executed theft.” See ECF No. 75 at 2. Steemit said no
such thing. Indeed, Plaintiffs’ entire claim to the Disputed Steem flows from the same flawed premise – a
refusal to acknowledge the terms of service and governance structure to which Plaintiffs agreed.
7
 The proposed amended complaint is largely unchanged from the original, including persisting
misstatements concerning claimed damages. Compare ECF No. 1 with ECF No. 74-1.


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        Plaintiffs’ proposed pleading also states that “[m]onths after the filing of Plaintiffs’ initial

Complaint, Bittrex informed the court it had been taking direction in part from Steemit.” Id., ¶

21. Although not specified, this appears to be a reference either to Bittrex’s amended

interpleader complaint filed on August 19, 2020,8 or its brief filed on August 25, 2020.9 Without

support, Plaintiffs then allege that by this interpleader action, Bittrex is somehow doing

Steemit’s “bidding.” Id.

        Plaintiffs seek leave to assert three Counts: (1) breach of bailment; (2) conversion; and

(3) statutory business conspiracy under Virginia Code § 18.2-500.10 ECF No. 74-1 at 4. Only

the latter two claims would be alleged against Steemit. Id.

                                        STANDARD OF REVIEW

        After a responsive pleading has been filed, a complaint can only be amended with the

Court’s leave. Fed. R. Civ. P. 15(a)(2). While leave should be given freely “when justice so

requires” (id.), it should be denied “when the amendment would be prejudicial to the opposing

party, there has been bad faith on the party of the moving party, or amendment would be futile.”

Van Leer v. Deutche Bank Sec., Inc., 479 Fed. Appx. 475, 479 (4th Cir. 2012) (quotation omitted).

“The grant or denial of leave lies in the sound discretion of the district court.” Basham v. Jenks,

No. 7:17cv202, 2018 U.S. Dist. LEXIS 79763, at *7 (W. D. Va. May 10, 2018).

        “A proposed amendment is futile when it would not survive a motion to dismiss.” Id. at

*8. Thus, “[a] district court determines futility under the standard of Fed. R. Civ. P. 12(b).” Id.


8
 ECF No. 21 at 11, ¶ 24 (“Steemit, Inc. claims a right to and interest in the Disputed Steem claimed by
Plaintiffs,” and “Steemit, Inc. plans to participate in this litigation to pursue its rights and interests against
Plaintiffs.”).
9
 ECF No. 23 at 2 (“Steemit, Inc. claims a right to and interest in the Disputed Steem, and (3) Steemit,
Inc. plans to participate in this litigation to pursue its rights and interests against Plaintiffs.”).
10
  The proposed amended complaint labels breach of bailment “Count I,” then skips to “Count III” for
conversion and “Count IV” for statutory business conspiracy. ECF 74-1 at 4.


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(quotation omitted); see also Van Leer, 479 Fed. Appx. at 479 (“We adjudge amendment futile

when the proposed amended complaint fails to state a claim.”); Blick v. Shapiro & Brown, LLP,

No. 3:16cv70, 2017 U.S. Dist. LEXIS 1826, at *6 (W.D. Va. Jan. 5. 2017) (“Accordingly, this

Court will evaluate the futility of this motion under the Rule 12(b)(6) standard.”).

        To survive a Rule 12(b)(6) motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)). The mere theoretical possibility of relief is not sufficient. Rather, plausibility requires

factual allegations sufficient to allow “the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. While the Court accepts

well-pleaded factual allegations as true, legal conclusions are not entitled to that assumption.

Iqbal, 556 U.S. at 678; Wag More Dogs, LLC v. Cozart, 680 F.3d 359, 365 (4th Cir. 2012) (a

court “need not accept legal conclusions couched as facts or unwarranted inferences,

unreasonable conclusions, or arguments”) (internal quotation marks omitted).

        Virginia statutory business conspiracy claims are subject to heightened pleading

standards, akin to fraud, and must be proved by clear and convincing evidence. See, e.g., AWP

Inc. v. Commonwealth Excavating, Inc., No. 5:13cv31, 2013 U.S. Dist. LEXIS 103881, at *9

(W.D. Va. July 24, 2013) (must be pled with particularity); Williams v. Dominion Tech.

Partners, L.L.C., 576 S.E.2d 752, 757 (Va. 2003) (clear and convincing evidence required).

                               ARGUMENT AND AUTHORITIES

        A.      Plaintiffs’ Motion For Leave To Amend Should Be Denied Because The
                Proposed Claims Against Steemit Are Futile.

        The motion should be denied because the proposed claims are futile. Plaintiffs do not

and cannot allege a plausible conversion or statutory business conspiracy claim against Steemit.


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In addition, the proposed amendment is futile because all claims related to the Disputed Steem –

other than the pending interpleader action – should be enjoined pursuant to 28 U.S.C. § 2361.

                   1.      Plaintiffs Have Not Alleged A Conversion Claim Against Steemit.

          It is undisputed that Steemit has not possessed or controlled the Disputed Steem since the

May 20, 2020 hack. Instead, Plaintiffs attempt to convert Steemit’s claim of ownership – in the

pendency of an interpleader action – into a basis for a conversion claim. ECF No. 74-1, ¶ 21.

No support is offered for that radical proposition, which would undermine the very rationale for

interpleader, and would work a serious chilling effect on potential claimants.

          Plaintiffs’ conversion claim fails for additional reasons. “In general, a cause of action for

conversion applies only to tangible property.” United Leasing Corp. v. Thrift Ins. Corp., 440

S.E.2d 902, 906 (Va. 1994). For intangible property rights, the Supreme Court of Virginia “has

refused to recognize a conversion claim for interference with undocumented intangible property

rights. Only a clear, definite, undisputed, and obvious property right in a thing to which [the

plaintiffs] are entitled to immediate possession [is] sufficient to support a claim for

conversion.” Mackey v. McDannald, 842 S.E.2d 379, 387 (Va. 2020) (quotation and internal

citation omitted) (emphasis in original) (brackets in original).

          Here, Plaintiffs have not alleged a documented right to the Disputed Steem – which as a

digital currency is intangible property – much less one that is clear, definite, undisputed, and

obvious. Nor could Plaintiffs do so, as the Disputed Steem was stolen from the @commuity321

wallet which Steemit (not Plaintiffs) controlled. Instead, the rightful owner to the Disputed

Steem should be adjudicated by the Court in the interpleader action.11




11
     No allegations support Plaintiffs’ related claim for punitive damages in connection with conversion.


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                2.       Plaintiffs Have Not Alleged A Statutory Business Conspiracy Claim
                         Against Steemit.

        Plaintiffs’ statutory business conspiracy claim fails on multiple, fundamental levels.12

        First, all but one of the Plaintiffs are individuals.13 Virginia Code §§ 18.2-499 and 500

are known as Virginia’s “business conspiracy statute.” See, e.g., Shirvinski v. United States

Coast Guard, 673 F.3d 308, 321 (4th Cir. 2012) (emphasis added). Section 18.2-499(A) states

that “[a]ny two or more persons who combine, associate, agree, mutually undertake or concert

together for the purpose of (i) willfully and maliciously injuring another in his reputation, trade,

business or profession” shall be criminally liable. Va. Code § 18-2-499(A). Section 18-2-

500(A) then provides for parallel civil liability. Va. Code § 18-2-499(A). “Despite its broad

language, it is well-settled that this statute applies only to injuries ‘to business and property

interests, not to personal or employment interests.’” Shirvinski, 673 F.3d at 321 (quoting

Andrews v. Ring, 585 S.E.2d 780, 784 (Va. 2003)). Accordingly, no individual Plaintiffs can

allege a business conspiracy claim.14

        Second, statutory business conspiracy claims must sufficiently “allege an unlawful act or

an unlawful purpose.” Station #2 v. Lynch, 695 S.E.2d 537, 541 (Va. 2010) (quoting Hechler

12
   It is unclear why the Virginia business conspiracy statute would apply to an alleged conspiracy between
a Texas based company (Steemit) and a Washington based company (Bittrex). Because Plaintiffs’ claim
is futile for numerous other reasons, Steemit will not address that choice of law issue here, reserving all
rights to challenge the same in the future.
13
  The status of BlockTrades – the sole non-individual Plaintiff – is unclear in light of the Court’s Order to
Show Cause. See ECF Nos. 72 and 76. Lack of diversity citizenship jurisdiction may be another reason
the proposed amended complaint is futile. See Fed. R. Civ. P. 12(b)(1).
14
  Even if BlockTrades could be considered for purposes of this claim, not a single allegation is offered on
the face of the Complaint (original or as proposed amended) to support the notion that BlockTrades’
business or trade interests are implicated here. Rather, according to a declaration submitted by Mr.
Notestein, he claims to be the “owner of the Steem and Steem-backed Dollars that were . . . placed in the
community 321 account.” ECF No. 20-1, ¶ 6. He goes on to makes the questionable claim those shares
were owned “personally and in my capacity as President and as one of the beneficial owners of
BlockTrades.” Id. That self-serving characterization is far from proof that BlockTrades held any interest
in the Disputed Steem, much less a business interest implicating Virginia’s statutory conspiracy laws.


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Chevrolet v. General Motors Corp., 337 S.E.2d 744, 748 (Va. 1985)). Indeed, “[t]here can be no

conspiracy to do an act which the law allows.” Hechler Chevrolet, 337 S.E.2d at 748; see also

Dunlap v. Cottman Transmission, Sys., LLC, 754 S.E.2d 313, 317 (Va. 2014) (same). Here, all

that Plaintiffs allege Steemit has done wrong is make a claim to the Disputed Steem during the

pendency of an interpleader action. ECF No. 74-1, ¶ 21. That is plainly lawful.

       Third, the heart of any conspiracy claim is concerted action between two or more

defendants. See, e.g., Livia Props., LLC v. Jones Lang LaSalle Ams., Inc., No. 5:14cv53, 2015

U.S. Dist. LEXIS 103987, at *30 (W.D. Va. Aug. 7, 2015) (“[C]ommon design is the essence of

the conspiracy. Conspiracy is not established simpl[y] by lumping the defendants altogether

because the heart of conspiracy is an agreement and a conscious decision by each defendant to

join it.”) (brackets in original) (internal citations and quotations omitted). Bittrex and Steemit do

not have a common interest or purpose with respect to the Disputed Steem. Bittrex is a

disinterested stakeholder; Steemit has made a claim to the Disputed Steem. Bittrex did not

transfer the Disputed Steem to Steemit, but filed an action in interpleader. Plaintiffs’ contrived

conspiracy has not been alleged with particularity and is facially implausible.

               3.      Plaintiffs’ Proposed Amendment Is Futile Because The Court Should
                       Enjoin It Under 28 U.S.C. § 2361.

       In a statutory interpleader action, the Court “may issue its process for all claimants and

enter its order restraining them from instituting or prosecuting any proceeding in any State or

United States court affecting the property, instrument or obligation involved in the interpleader

action until further order of the court.” 28 U.S.C. § 2361 (emphasis added). This makes good

sense. The statute protects not only the interpleader stakeholder, but a competing claimant from

having to defend against a multiplicity of proceedings “affecting” the property involved in the

interpleader action. Id.


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       Bittrex has already requested that the Court enter a § 2361 injunction in light of

Plaintiffs’ refusal to dismiss the original Complaint. See, e.g., ECF No. 61 at 17; ECF No. 65 at

10-11. Given that Plaintiffs now attempt to assert the same meritless claims against Steemit,

Steemit likewise requests that the Court issue a § 2361 injunction.

       B.      Plaintiffs’ Motion Should Also Be Denied Because They Acted In Bad Faith.

       In addition to futility, the motion for leave to amend should be denied because Plaintiffs

have acted in bad faith. Despite their “suspicions” that Steemit would make a claim to the

disputed Steem, Plaintiffs did not sue Steemit in the original Complaint. Nor did they seek to

amend one month later, when Bittrex responded to the lawsuit and initiated the interpleader

action, naming Steemit as a claimant. By August 19, 2020, Bittrex had amended its action in

interpleader, now expressly representing to the Court (and Plaintiffs) that Steemit intended to

make a claim to the Disputed Steem when it responded to the lawsuit. ECF No. 21 at 11, ¶ 24.

Bittrex made the same representation six days later (ECF No. 23 at 2), attaching a letter from

Steemit’s counsel (ECF No. 23-3). On September 22, 2020, Steemit formally appeared in this

action and made a claim to the Disputed Steem. ECF No. 28.

       Thus, for almost a year, Plaintiffs did nothing despite actual knowledge that Steemit

claimed an ownership interest in the Disputed Steem. Only after the Court raised concerns about

a “John Doe” Defendant, and Plaintiffs faced the very real possibility that their claims would be

dismissed, did Plaintiffs decide to take action. Under these circumstances, the amendment does

not appear to be the byproduct of diligent and good faith advocacy.

       Plaintiffs also seek to file these new claims after: (1) agreeing that interpleader was

proper as to the Disputed Steem; and (2) being well aware from Bittrex’s briefing that claims

related to the subject property of an interpleader action should not proceed.



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       Under these circumstances, Steemit submits that denial is also appropriate because

Plaintiffs are not proceeding in good faith.

                                         CONCLUSION

       For the foregoing reasons: (1) Plaintiffs’ motion for leave to file an amended complaint

should be denied; (2) the Court should issue an order under 28 U.S.C. § 2361 enjoining Plaintiffs

from instituting any further proceedings regarding the Disputed Steem; (3) Steemit should be

awarded reasonable costs and attorneys’ fees incurred in responding to this motion, per Virginia

Code § 18-2-500(B); and (4) the Court should grant such other relief as it deems just and proper.

Dated: June 28, 2021                           Respectfully submitted,

                                               STEEMIT, INC.

                                               By: /s/ Michael J. Finney

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of June 2021, a true and correct copy of the foregoing

was filed with the Clerk of Court using the CM/ECF system, which provided electronic service to

all counsel of record.

                                                          /s/ Michael J. Finney




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